Case 22-11917-amc             Doc 41       Filed 02/08/24 Entered 02/08/24 14:11:55          Desc Main
                                           Document     Page 1 of 2
                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Robert E. Piazza Jr.
                                     Debtor(s)                                 CHAPTER 13

MidFirst Bank
                                     Movant
                 vs.
                                                                            NO. 22-11917 AMC
Robert E Piazza, Jr.
                                     Debtor(s)

Kenneth E. West
                                     Trustee
                                                                            11 U.S.C. Section 362

                                  MOTION OF MIDFIRST BANK
                            FOR RELIEF FROM THE AUTOMATIC STAY
                                     UNDER SECTION 362

          1.       Movant is MidFirst Bank.

          2.       Debtor is the owner of the premises 2428 Purdue Street, Bristol, PA 19007, hereinafter

 referred to as the mortgaged premises.

          3.       Movant is the holder of a mortgage, original principal amount of $186,459.00 on the

 mortgaged premises that was executed on June 04, 2018. The mortgage has been assigned as follows:

          Mortgage Electronic Registration Systems, inc., as Mortgagee as Nominee for Federated Lending

 Corporation to Nationstar Mortgage as recorded on 10/10/2019 as instrument number 2019057437; and

 Nationstar Mortgage LLC d/b/a Mr. Cooper to MidFirst Bank, a Federally Chartered Savings Association as

 recorded on 12/18/2019 as instrument number 2019073616.

          4.       Kenneth E. West is the Trustee appointed by the Court.

          5.       The commencement and/or continuation of the mortgage foreclosure proceedings by reason

 of non-payment of monthly mortgage payments were stayed by the filing of a Chapter 13 Petition in

 Bankruptcy by the Debtor(s).

          6.       Debtor has failed to make the monthly post-petition mortgage payments in the amount of

 $1,578.72 for the months of November 1, 2023, through January 1, 2023, less $484.34 in debtor’s suspense,

 plus late charges if applicable .
Case 22-11917-amc             Doc 41      Filed 02/08/24 Entered 02/08/24 14:11:55                Desc Main
                                          Document     Page 2 of 2
        7.         In addition to the other amounts due to Movant reflected in this Motion, as of the date

hereof, in connection with seeking the relief requested in this Motion, Movant has also incurred legal fees and

legal costs. Movant reserves all rights to seek an award or allowance of such fees and expenses in accordance

with applicable loan documents and related agreements, the Bankruptcy Code and otherwise applicable law.

        8.         The total amount necessary to reinstate the loan post-petition is $4,251.82 (plus attorney’s

fees & costs).

        9.       Movant is entitled to relief from stay for cause.

        10.        This motion and the averments contained therein do not constitute a waiver by Movant of

its right to seek reimbursement of any amounts not included in this motion, including fees and costs, due

under the terms of the mortgage and applicable law.

        WHEREFORE, Movant prays that an Order be entered modifying the Stay and permitting Movant to

proceed with its mortgage foreclosure on the mortgaged premises, and to allow the Sheriff's Grantee to take

any legal action to enforce its right to possession of the mortgage premises. Further, Movant prays that an

Order be entered awarding Movant the costs of this suit, reasonable attorney's fees in accordance with the

mortgage document and current law together with interest.


                                                            /s/ Mark A. Cronin
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Date: February 08, 2024
